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                                                          Attorneys for Plaintiffs Directors of the
                                                        8 Motion Picture Industry Pension Plan and
                                                          Directors of the Motion Picture Industry
                                                        9 Health Plan
                                                       10                                  UNITED STATES DISTRICT COURT
                                                       11                 CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                801 North Brand Boulevard, Suite 950




                                                       12
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                                                       13 Directors of the Motion Picture Industry          CASE NO.: 2:20-CV-00501
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                                                          Pension Plan and Directors of the
                                                       14 Motion Picture Industry Health Plan,
                                                                                                            COMPLAINT TO COMPEL AUDIT
                                                       15                     Plaintiff,                    ENTRY, FOR UNPAID
                                                                                                            CONTRIBUTIONS UNDER THE
                                                       16            vs.                                    EMPLOYEE RETIREMENT
                                                                                                            INCOME SECURITY ACT OF 1974,
                                                       17 Red Handle Productions, LLC, and                  AND BREACH OF COLLECTIVE
                                                          DOES 1 through 10                                 BARGAINING AGREEMENTS
                                                       18
                                                                     Defendant.                             (29 U.S.C. § 185; 29 U.S.C. §§ 1132
                                                       19                                                   and 1145)
                                                       20
                                                       21
                                                       22            Plaintiffs Directors of the Motion Picture Industry Pension Plan and Directors
                                                       23 of the Motion Picture Industry Health Plan (“Directors”) allege as follows:
                                                       24                                    JURISDICTION AND VENUE
                                                       25            1.       This action by the Directors of the Motion Picture Industry Pension
                                                       26 Plan and Motion Picture Industry Health Plan (collectively, and as distinguished
                                                       27 from the Directors, the “Plans”) is based on the failure and refusal of Defendant Red
                                                       28 Handle Productions, LLC (“Red Handle Productions”) and DOES 1 through 10,
                                                            685200v5 11011-29004                                                  Case No.: 2:20-CV-00501
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                                                        1 inclusive, to honor their obligations to the Plans, as required by the terms of certain
                                                        2 collective bargaining agreements and the trust agreements governing the Plans, and
                                                        3 pursuant to § 515 of the Employee Retirement Income Security Act of 1974, as
                                                        4 amended (“ERISA”), 29 U.S.C. § 1145, and § 301(a) of the Labor Management
                                                        5 Relations Act (“LMRA”), 29 U.S.C. § 185(a).
                                                        6            2.       This Court has jurisdiction over the subject matter of this action
                                                        7 pursuant to 28 U.S.C. § 1331; ERISA § 502(e)(1), 29 U.S.C. § 1132(e)(1); and
                                                        8 LMRA § 301(c), 29 U.S.C. § 185(c).
                                                        9            3.       Venue is based on the location of the office in which the Plans are
                                                       10 administered, located in the Central District of California. As such, venue is
                                                       11 appropriate pursuant to ERISA § 502(e)(2), 29 U.S.C. § 1132(e)(2), and LMRA §
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                                                       12 301(a), 29 U.S.C. § 185(a).
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                                                       13                                             PARTIES
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                                                       14            4.       The Plans are “employee benefit plans” within the meaning of ERISA §
                                                       15 3(3), 29 U.S.C. § 1002(3), in that they were created pursuant to written declarations
                                                       16 of trust ("Trust Agreements") between the International Alliance of Theatrical Stage
                                                       17 Employees ("IATSE") and certain other labor organizations, and motion picture and
                                                       18 television industry producer employers participating in the Plans ("Producers"), and
                                                       19 are maintained for the purpose of providing their participants and beneficiaries with
                                                       20 medical, surgical and hospital benefits in the event of sickness, accident, disability
                                                       21 or death, and retirement benefits. The Plans were created and now exist pursuant to
                                                       22 LMRA § 302(c), 29 U.S.C. § 186(c).
                                                       23            5.       The Plans are “multiemployer plans” within the meaning of ERISA §
                                                       24 3(37)(A), 29 U.S.C. § 1002(37)(A), in that more than one employer is required to
                                                       25 contribute to the Plans and the Plans are maintained pursuant to collective
                                                       26 bargaining agreements between the Unions (as defined in par. 6, infra) and multiple
                                                       27 motion picture and television producers.
                                                       28            6.       The Directors are “fiduciaries” within the meaning of ERISA §
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                                                        1 3(21)(A), 29 U.S.C. § 1002(21)(A), half of whom have been appointed by the
                                                        2 Producers and half of whom have been appointed by the IATSE; International
                                                        3 Brotherhood of Teamsters, Chauffeurs, Warehousemen and Helpers of America,
                                                        4 Local 399; and other applicable labor organizations (collectively, “Unions”). The
                                                        5 Directors have an obligation to protect the Plans’ assets including ensuring that
                                                        6 signatory employers properly remit to the Plans contractually-required pension and
                                                        7 health contributions.
                                                        8            7.       Under the Trust Agreements, the Directors have control and authority
                                                        9 over the Plans, including the authority to file actions such as the present case to
                                                       10 protect the Plans’ trust assets.
                                                       11            8.       At all times relevant herein, the Unions have been labor organizations
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                                                       12 representing employees in the motion picture and television industry, which is an
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                                                       13 industry affecting commerce within the meaning of LMRA § 501(1), 29 U.S.C. §
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                                                       14 142(1).
                                                       15            9.       At all times relevant herein, Red Handle Productions is and has been a
                                                       16 limited liability company organized and existing under the laws of the State of
                                                       17 California, registered and transacting business in the State of California, with its
                                                       18 principal place of business in the State of California, and is an “employer” within
                                                       19 the meaning of ERISA § 3(5), 29 U.S.C. § 1002(5), and LMRA § 501(3), 29 U.S.C.
                                                       20 § 142(3). As such, Red Handle Productions is also an “employer” as that term is
                                                       21 used in LMRA § 301, 29 U.S.C. § 185.
                                                       22            10.      The Directors are currently unaware of the true names and capacities of
                                                       23 defendants sued herein by fictitious names, DOES 1 through 10, inclusive, and
                                                       24 therefore sue those defendants by fictitious names. The Directors shall seek leave to
                                                       25 amend this Complaint to allege the true names and capacities of such fictitiously-
                                                       26 named defendants when they are ascertained.
                                                       27                                   COMMON ALLEGATIONS
                                                       28            11.      The Plans are established and maintained through certain collective
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                                                        1 bargaining agreements between the Producers and the Unions (collectively, “Basic
                                                        2 Agreements”) and the Trust Agreements enacted by the Producers and the Unions.
                                                        3 The Producers are represented by the Alliance of Motion Picture and Television
                                                        4 Producers, a trade association responsible for negotiating virtually all the industry-
                                                        5 wide entertainment union collective bargaining agreements, commonly referred to
                                                        6 as the “AMPTP.”
                                                        7            12.      At all times relevant herein, Red Handle Productions has been
                                                        8 signatory to the Basic Agreement, as well as separately executed Consent
                                                        9 Agreements and Trust Acceptance agreements, which, inter alia, obligate Red
                                                       10 Handle Productions to pay contributions to the Plans in the manner and under the
                                                       11 terms set forth therein. Collectively, the Basic Agreement, Consent Agreements,
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                                                       12 and Trust Acceptance agreements are referred to herein as the “Signatory
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                                                       13 Documents.”
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                                                       14            13.      Under ERISA § 515, 29 U.S.C. § 1145, employers such as Red Handle
                                                       15 Productions that are obligated to make contributions to a multiemployer plan
                                                       16 pursuant to one or more collectively bargained agreements are required to make
                                                       17 such contributions in accordance with the terms and conditions of such plan or
                                                       18 agreements.
                                                       19            14.      Further, ERISA § 502(a)(3), 29 U.S.C. § 1132(a)(3), authorizes the
                                                       20 Directors to enforce the obligations set forth in ERISA § 515 against Red Handle
                                                       21 Productions.
                                                       22            15.      The Directors are informed and believe that at all material times, Red
                                                       23 Handle Productions employed motion picture technicians to perform covered
                                                       24 services on a web series titled The Red Handle (“Web Series”), which is covered by
                                                       25 the Basic Agreement.
                                                       26            16.      Pursuant to the Plan Signatory Documents, Red Handle Productions is
                                                       27 under an obligation to make certain monetary contributions to the Plans based upon,
                                                       28 with limited exceptions, a set dollar amount for every hour worked or guaranteed
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                                                        1 (“Payroll Contributions”) to individuals who provided covered services on the Web
                                                        2 Series covered by the Basic Agreement (“Covered Individuals”).
                                                        3            17.      Pursuant to the Signatory Documents, the Directors have authority to
                                                        4 conduct an audit of the books and records of signatory employers for the purpose of
                                                        5 determining the accuracy of Payroll Contributions made to the Plans. The Trust
                                                        6 Agreements provide that if such an audit discloses a delinquency or underpayment
                                                        7 of such Payroll Contributions, the cost of the audit shall be borne by the signatory
                                                        8 that is found to be delinquent, and if litigation is required to compel such an audit,
                                                        9 the costs of such litigation are to be borne by the signatory.
                                                       10            18.      Based on the express terms of the Signatory Documents, the Directors
                                                       11 reposed trust and confidence in Red Handle Productions and relied on Red Handle
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                                                       12 Productions to accurately report and pay the correct amount of Payroll Contributions
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                                                       13 to the Plans. Red Handle Productions’ refusal to allow the Audit to be completed,
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                                                       14 and its breach of the trust and confidence the Directors reposed in it, inter alia,
                                                       15 serves to toll any statute of limitations, if applicable.
                                                       16                                   FIRST CAUSE OF ACTION
                                                       17                           (Failure to Comply With Audit Obligations)
                                                       18            19.      The Directors incorporate by reference each allegation contained in
                                                       19 Paragraphs 1 through 18 as though fully set forth herein.
                                                       20            20.      The Directors maintain an audit program for the purpose of monitoring
                                                       21 and enforcing compliance with the Signatory Documents, including the obligation to
                                                       22 timely and accurately pay contributions to the Plans.
                                                       23            21.      At all times material herein, pursuant to the terms of the Signatory
                                                       24 Documents, Red Handle Productions has been under an affirmative duty to
                                                       25 cooperate with the audit process and to provide the Plans with information, such as
                                                       26 books and records pertaining to the Web Series during the period of time under
                                                       27 audit, so that they can determine whether Payroll Contributions, and other
                                                       28 contribution obligations, have been paid properly and in the correct amounts.
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                                                        1            22.      On or about April 27, 2018, the Plans announced a payroll compliance
                                                        2 review of Red Handle Productions (“Audit”) for the period from July 16, 2017
                                                        3 through March 24, 2018 (the “Audit Period”).
                                                        4            23.      After an initial partial response to the Audit, Red Handle Productions
                                                        5 failed to respond to numerous requests from the Plans for additional records
                                                        6 necessary to continue and complete the Audit.
                                                        7            24.      To date, Red Handle Productions has failed and/or refused to provide
                                                        8 the Plans or their agents with the books and records they are entitled to review under
                                                        9 the Signatory Documents. Without these records, the Directors are unable to
                                                       10 determine the total amount of Payroll Contributions owed to the Plans with respect
                                                       11 to the Web Series during the Audit Period or whether Red Handle Productions has
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                                                       12 complied with its obligation to make appropriate Payroll Contributions to the Plans
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                                                       13 under the terms and conditions of the Plan Signatory Documents.
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                                                       14            25.       By its execution of the Signatory Documents, Red Handle Productions
                                                       15 agreed that in the event of a failure to make necessary records available for an audit,
                                                       16 it would be liable for expenses associated with enforcement, including but not
                                                       17 limited to reasonable audit fees, and attorneys’ fees, in addition to unpaid
                                                       18 contributions, liquidated damages, interest, and legal costs, whether or not the audit
                                                       19 ultimately identified any delinquent or unpaid contributions.
                                                       20            26.      The Directors are informed and believe, and on that basis allege, that
                                                       21 liquidated damages, interest, legal fees and audit costs are due, in addition to any
                                                       22 unpaid or underpaid Payroll Contributions, in amounts to be established by proof at
                                                       23 trial.
                                                       24                                 SECOND CAUSE OF ACTION
                                                       25     (Violation of ERISA § 515, 29 U.S.C. § 1145 – Unpaid Payroll Contributions)
                                                       26            27.      The Directors incorporate by reference each allegation contained in
                                                       27 Paragraphs 1 through 26 as though fully set forth herein.
                                                       28            28.      Pursuant to the Plan Signatory Documents, Red Handle Productions is
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                                                        1 responsible for complying with all terms and conditions of the Basic Agreement and
                                                        2 Trust Agreements, including but not limited to the payment of Payroll Contributions
                                                        3 based on the hours worked by covered employees performing covered services in
                                                        4 connection with production of the Web Series.
                                                        5            29.      The Directors are informed and believe, and thereon allege, Red
                                                        6 Handle Productions has not paid or underpaid Payroll Contributions due and owing
                                                        7 in connection with the Web Series.
                                                        8            30.      Pursuant to ERISA § 502(g)(2), 29 U.S.C. §1132(g)(2), and the Plan
                                                        9 Signatory Documents, in the event of a delinquent payment, Red Handle
                                                       10 Productions agreed to be and is liable to the Directors for liquidated damages equal
                                                       11 to the greater of either 20% of the total amount of Payroll Contributions then due, or
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                                                       12 interest on the amount then due at the annual rate of 12%, calculated from the date
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                                                       13 when payment was due to the date when payment is made. The Directors are
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                                                       14 informed and believe that Red Handle Productions owes liquidated damages in an
                                                       15 amount to be established by proof at trial.
                                                       16            31.      Pursuant to ERISA § 502(g)(2), 29 U.S.C. §1132(g)(2), and the Plan
                                                       17 Signatory Documents, in the event of a delinquent payment, Red Handle
                                                       18 Productions agreed to be and is liable to the Directors for interest at the annual rate
                                                       19 of 12% on all unpaid Payroll Contributions due in connection with the Web Series,
                                                       20 calculated from the date when payment was due to the date when payment is made.
                                                       21 The Directors are informed and believe that Red Handle Productions owes interest
                                                       22 in an amount to be established by proof at the trial.
                                                       23            32.      Pursuant to ERISA § 502(g)(2), 29 U.S.C. §1132(g)(2), and the Plan
                                                       24 Signatory Documents, Red Handle Productions agreed to be and is liable to the
                                                       25 Directors for attorneys’ fees and legal costs incurred in connection with collection of
                                                       26 unpaid and/or underpaid Payroll Contributions. The amount of such attorneys’ fees
                                                       27 and legal costs will be established by proof at trial.
                                                       28            33.      Pursuant to the Signatory Documents, Red Handle Productions agreed
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                                                        1 to be and is liable to the Plans for the costs of auditing Red Handle Productions in
                                                        2 connection with the delinquent and unpaid Payroll Contributions, and owes audit
                                                        3 costs in amounts to be established by proof at trial.
                                                        4            34.      At all times material herein, pursuant to the terms of the Basic
                                                        5 Agreement and Trust Agreements, Red Handle Productions was under an
                                                        6 affirmative duty to pay the Plans the correct amount of Payroll Contributions and to
                                                        7 provide the Plans and their agents with information so that they may determine
                                                        8 whether Payroll Contributions have been properly paid. The Directors are informed
                                                        9 and believe, and on that basis allege, Red Handle Productions failed to accurately
                                                       10 report this information and to pay the proper Payroll Contributions as to the Web
                                                       11 Series.
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                                                       12                                  THIRD CAUSE OF ACTION
                   Glendale, California 91203-1260




                                                       13            (Violation of LMRA § 301(a), 29 U.S.C. § 185 – Breach of Collective
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                                                       14                                      Bargaining Agreement)
                                                       15            35.      The Directors incorporate by reference each allegation contained in
                                                       16 Paragraphs 1 through 34 as though fully set forth herein.
                                                       17            36.      Red Handle Productions breached the Basic Agreement by failing to
                                                       18 allow an audit of its books and records to be completed, as required under the terms
                                                       19 and conditions set forth therein.
                                                       20            37.      Red Handle Productions breached the Basic Agreement by failing to
                                                       21 pay or by making insufficient payments of Payroll Contributions with respect to the
                                                       22 Web Series, as required under the terms and conditions set forth therein.
                                                       23            38.      As a result of Red Handle Productions’ breach of the Basic Agreement,
                                                       24 the Directors have suffered damages in an amount to be established by proof at trial,
                                                       25 including but not limited to unpaid and/or underpaid Payroll Contributions,
                                                       26 liquidated damages, interest, attorneys’ fees, legal costs, and audit costs.
                                                       27                                     PRAYER FOR RELIEF
                                                       28            WHEREFORE, the Directors pray for judgment against Defendants Red
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                                                        1 Handle Productions and Does 1-10 as follows:
                                                        2            1.       For an order directing Red Handle Productions to provide the Plans and
                                                        3 their agents with all books and records necessary to complete the Audit;
                                                        4            2.       for unpaid Payroll Contributions in an amount to be established by
                                                        5 proof at trial;
                                                        6            3.       for audit costs in an amount to be established by proof at trial;
                                                        7            4.       for liquidated damages in an amount to be established by proof at trial;
                                                        8            5.       for interest in an amount to be established by proof at trial;
                                                        9            6.       for reasonable attorney’s fees and other costs of this action incurred by
                                                       10 the Directors, in amounts to be established by proof at trial; and
                                                       11            7.       for such additional relief as this Court deems just and proper.
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                                                       12
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                                                       13 DATED: January 17, 2020                     PETER S. DICKINSON
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                                                                                                      KIRK M. PRESTEGARD
                                                       14
                                                                                                      ESTEPHANIE VILLALPANDO
                                                       15                                             BUSH GOTTLIEB, A Law Corporation
                                                       16
                                                       17
                                                                                                      By:
                                                       18
                                                                                                          ESTEPHANIE VILLALPANDO
                                                       19                                             Attorneys for Motion Picture Industry Pension
                                                       20                                             and Health Plans

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